                Case 4:20-cr-00193-SMR-HCA                           Document 64              Filed 05/02/24               Page 1 of 1
AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                          SouthernDistrict
                                                      __________   Districtofof__________
                                                                                Iowa

                    United States of America
                               v.                                           )
                   Andrew Norman Overbeck                                   )
                                                                            )    Case No: 4:20-cr-00193-001
                                                                            )    USM No: 06534-030
Date of Original Judgment:                            11/09/2022            )
Date of Previous Amended Judgment:                                          )   Nova Janssen
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ’ the defendant ’ the Director of the Bureau of Prisons ✔          ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           ’
the last judgment issued) of                   months is reduced to                                      .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                           11/09/2022             shall remain in effect.
IT IS SO ORDERED.

Order Date:                  05/02/2024
                                                                                                         Judge’s signature


Effective Date:                                                                    Stephanie M. Rose, Chief U.S. District Judge
                     (if different from order date)                                                    Printed name and title
